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                          UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION
______________________________________
                                         :
Jerohn Mizell,                           :
                                         : Civil Action No.: 4:15-cv-00550_RAS
                                         :
                     Plaintiff,          :
       v.                                :
                                         :
Conn Appliances, Inc.,                   :
                                         :
                     Defendant.          :
                                         :
______________________________________ :

                 ORDER GRANTING STIPULATION OF DISMISSAL

       Having reviewed the parties' Stipulation of Dismissal (Dkt. #82) and for good cause

shown, it is hereby ORDERED that this case is dismissed with prejudice.


          .   SIGNED this the 7th day of July, 2021.




                                                      _______________________________
                                                      RICHARD A. SCHELL
                                                      UNITED STATES DISTRICT JUDGE
